	NO. 07-12-0350-CR
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL D

	AUGUST 8, 2012
	______________________________

	TERRY ALLEN REECE,

Appellant

	v.

	THE STATE OF TEXAS,

Appellee
	_________________________________

	FROM THE 69th DISTRICT COURT OF MOORE COUNTY;

	NO. 4419; HON. RON ENNS, PRESIDING
	_______________________________

	Order of Dismissal
	_______________________________

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
Terry Allen Reece, appellant, attempts to appeal from his conviction for obstruction or retaliation.  The trial court pronounced sentence and signed the judgment in August of 2011.  Appellant did not file his notice of appeal until August 3, 2012.  We dismiss for want of jurisdiction.

To be timely, a notice of appeal must be filed within thirty days after the sentence is imposed or suspended in open court or within ninety days after that date if a motion for new trial is filed.  Tex. R. App. P. 26.2(a).  Therefore, the deadline for perfecting an appeal here lapsed in September of 2011.
A timely filed notice of appeal is essential to invoke our appellate jurisdiction.  Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996).  If it is untimely, we can take no action other than to dismiss the proceeding.  Id. at 523.  Appellant's notice being untimely filed, we have no jurisdiction over the matter and dismiss the appeal.
Accordingly, appellant's appeal is dismissed.

Per Curiam 



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